Case 3:18-cv-01234 Document 1-25 Filed 11/02/18 Page 1 of 5 PageID #: 1108
                                                                   Attachment 24
Case 3:18-cv-01234 Document 1-25 Filed 11/02/18 Page 2 of 5 PageID #: 1109
                                                                   Attachment 24
Case 3:18-cv-01234 Document 1-25 Filed 11/02/18 Page 3 of 5 PageID #: 1110
                                                                   Attachment 24
Case 3:18-cv-01234 Document 1-25 Filed 11/02/18 Page 4 of 5 PageID #: 1111
                                                                   Attachment 24
Case 3:18-cv-01234 Document 1-25 Filed 11/02/18 Page 5 of 5 PageID #: 1112
                                                                   Attachment 24
